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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NORTH DAKOTA

UNITED STATES OF AMERICA,
Case No. 1:19-CR-00124
Plaintiff,
PLEA AGREEMENT
Vv.
DOUGLAS JAMES SCHNEIDER
Defendant.

 

Pursuant to Rule 11(c)(1)(A) of the Federal Rules of Criminal Procedure, the
United States of America, by its attorneys, Drew H. Wrigley, United States Attorney for
the District of North Dakota, and Gary L. Delorme, Assistant United States Attorney;
Defendant, Douglas James Schneider; and Defendant’s counsel, Luke T. Heck, agree to
the following:

1. Defendant acknowledges the Indictment charges a violation of Title 18,

United States Code, Section 2423(a).

2. Defendant has read the charge and Defendant’s attorney has fully explained
the charge to Defendant.
3. Defendant fully understands the nature and elements of the charged crime.

4, Defendant will voluntarily plead guilty to the lone Count of the Indictment.

5. The patties agree this Plea Agreement shall be filed as part of the Court
record and be governed by Federal Rule.of Criminal Procedure 1i(c). The parties
specifically agree that Rule 11(c)(1)(C) does apply as this is a binding Plea

Agreement. If the Court’s refuses to accept any or all terms of the Plea Agreement, and

 
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Supplement, the Defendant does retain a right to withdraw Defendant’s guilty plea and
the United States may withdraw from the Plea Agreement and request the Court set the
matter back on to the trial calendar.

6. Defendant will plead guilty because Defendant is in fact guilty of the
charge. In pleading guilty to the lone Count, Defendant acknowledges that:

From in or about April 2018 to in or about July 2018, in the District of North
Dakota, and elsewhere, the Defendant knowingly transported, and caused to be
transported, M.J., a minor who had not attained the age of 18 years, in interstate
commerce, from the state of North Dakota to the state of Montana, with the intent that
such individual engage in sexual activity for which any person can be charged with a
criminal offense under the North Dakota Century Code § 12.1-20-03(d), 12.1-20-03-03.1

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and the Montana Code Annotated § 45-5-502, in violation of Title 18, United States

Code, Section 2423(a).
7. Defendant understands the following maximum penalties apply:
Count One
Imprisonment: Any years, up to life
Fine: $250,000
Supervised Release: 5 years, up to life term
Special Assessment: $100

Defendant agrees to pay the Clerk of United States District Court the special assessment
on or before the day of sentencing.
8. Defendant understands that by pleading guilty Defendant surrenders rights,

including:

 
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(a) The right to a speedy public jury trial and related rights as follow:
(i) A jury would be composed of twelve (12) lay persons
selected at random. Defendant and Defendant's attorney would help choose
the jurors by removing prospective jurors “for cause,” where actual bias ot

other disqualification is shown; or by removing jurors without cause by
exercising so-called peremptory challenges. The jury would have to agree
unanimously before it could return a verdict. The jury would be instructed
that Defendant is presumed innocent and that it could not return a guilty
verdict unless it found Defendant guilty beyond a reasonable doubt.

(ii) Ifa trial were held without a jury, then the Judge would find
the facts and determine whether Defendant was guilty beyond a reasonable
doubt.

(iii) At a trial, whether by a jury or Judge, the United States is
required to present witness testimony and other evidence against
Defendant. Defendant’s attorney can confront and examine them. In turn,
the defense can present witness testimony and other evidence. If witnesses
for Defendant refuse to appear voluntarily, Defendant can require their
attendance through the subpoena power of the Court.

(iv) At trial, Defendant has a privilege against self-incrimination;
thus, Defendant can decline to testify. No inference of guilt can be drawn
from Defendant’s refusal to testify. Defendant can choose to testify, but

cannot be required to testify.

 
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(b) Defendant has a right to remain silent. However, under terms of the

Plea Agreement, the Judge will likely ask Defendant questions about Defendant’s

criminal conduct to ensure that there is a factual basis for Defendant’s plea.

9. Defendant understands that by pleading guilty Defendant is giving up all of
the rights set forth in the prior paragraph, and there will be no trial. Defendant’s attorney
has explained those rights, and consequences of Defendant’s waiver.

10. The Court shall impose a sentence sufficient to comply with purposes set
forth in the Sentencing Reform Act. In doing so, the Court shall consider factors set forth
in 18 U.S.C. § 3553(a), and must consult and take into account the United States’
Sentencing Commission, Guidelines Manual, (Nov. 2018) (USSG). Defendant
understands that the United States Attorney’s Office will fully apprise the District Court
and the United States Probation and Pretrial Services Office of the nature, scope, and
extent of Defendant’s conduct, including all matters in aggravation and mitigation
relevant to the issue of sentencing. The United States expressly reserves the right to
appeal from an unreasonable sentence.

11. This Plea Agreement is binding only upon the United States Attorney for
the District of North Dakota. It does not bind any United States Attorney outside the
District of North Dakota, nor does it bind any state or local prosecutor. They remain free
to prosecute Defendant for any offenses under their jurisdiction. This Plea Agreement

also does not bar or compromise any civil or administrative claim.

 
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12. Defendant understands the United States Attorney reserves the right to
notify any local, state, or federal agency by whom Defendant is licensed, or with whom
Defendant does business, of Defendant’s conviction.

13. The parties agree that the base offense level under the Sentencing
Guidelines for Defendant’s conduct is 28. (USSG § 2G1.3).

14. The parties agree that the following upward adjustments are applicable in
this case:

e +2 for care/custody/control of victim. (USSG § 2G1.3(b)(1));

¢ +2 for sex act(s) performed during commission of crime. (USSG
§ 2G1.3(b)(4); and

¢ +8 for victim being under 12 years of age. (USSG § 2G1.3(b\5)).

15. The parties agree that the following downward adjustments are applicable
in this case: None.

16. Atsentencing, United States agrees to recommend a 2-level downward
adjustment for acceptance of responsibility, provided Defendant has demonstrated a
genuine acceptance of responsibility. (USSG § 3E1.1(a)). The United States further
agrees to move for an additional 1-level downward adjustment for timely notifying the
United States of Defendant’s intention to enter a guilty plea, thus permitting the Court
and the United States to allocate their resources efficiently. (USSG § 3E1.1(b)).

17. The Court in accepting the parties agreement is bound by the Plea
Agreement, The Court may not depart from the binding range as set forth in paragraph 18

of this agreement.

 
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18. At sentencing, the Parties will:

(a) Recommend a binding sentence of 150 months imprisonment;

(b) Recommend that Defendant be ordered to pay restitution, if
applicable; and

(c) Recommend a 10 year term of supervised release.

19. Defendant acknowledges and understands that if Defendant violates any
term of this Plea Agreement, engages in any further criminal activity, or fails to appear
for sentencing, the United States will be released from its commitments. In that event,
this Plea Agreement shall become null and void at the discretion of the United States, and
Defendant will face the following consequences: (1) all testimony and other information
Defendant has provided at any time to attorneys, employees, or law enforcement officers
of the government, to the Court, or to the Federal Grand Jury, may be used against
Defendant in any prosecution or proceeding; and (2) the United States will be entitled to
reinstate previously dismissed charges and/or pursue additional charges against
Defendant and to use any information obtained directly or indirectly from Defendant in
those additional prosecutions, Nothing in this agreement prevents the United States from
prosecuting Defendant for perjury, false statements, or false declarations, if Defendant
commits such acts in connection with this agreement or otherwise.

20. Defendant acknowledges the provisions of Title 18, United States Code,
Sections 2259 and 3663A, which require the Court to order restitution, Defendant agrees
to pay restitution as may be ordered by the Court. Defendant acknowledges and agrees

that the Court will order Defendant to make restitution for all loss caused by Defendant’s

 
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conduct, regardless of whether counts of the Indictment will be dismissed as part of this
Plea Agreement. Defendant further agrees to grant the United States a wage assignment,
liquidate assets, or complete any other tasks the Court finds reasonable and appropriate
for the prompt payment of any restitution or fine ordered by the Court.

21. The United States will file a Supplement in this case, as is routinely done in
every case, even though there may or may not be any additional terms. Defendant and
Defendant’s attorney acknowledge that no threats, promises, or representations exist
beyond the terms of this Plea Agreement.

22. Defendant’s Waiver of Appeal. Defendant acknowledges having been
advised by counsel of Defendant’s rights to appeal the conviction or sentence in this case,
including the appeal right conferred by 18 U.S.C. § 3742, and to challenge the conviction
or sentence collaterally through post-conviction proceedings, including proceedings
under 28 U.S.C. § 2255, Defendant understands these rights, and in exchange for the
concessions made by the United States in this plea agreement, Defendant hereby
knowingly and voluntarily waives these rights, except as specifically reserved herein,
Defendant’s waiver of these rights includes, but is not limited to, a waiver of all rights to
appeal or to collaterally attack: Defendant’s conviction or sentence; all non-jurisdictional
issues; any assessment, restitution or forfeiture order; the constitutionality of the
applicable guidelines; and the constitutionality of the statute(s) to which Defendant is
pleading guilty or under which Defendant is sentenced, or to argue that the admitted

conduct does not fall within the scope of the statute(s), Defendant reserves the right to

 
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attack the conviction or sentence based on a claim of ineffective assistance of counsel
that challenges the validity of the guilty plea or this waiver.

23. By signing this Plea Agreement, Defendant further specifically waives
Defendant’s right to seek to withdraw Defendant’s plea of guilty, pursuant to Federal
Rules of Criminal Procedure 11(d), once the plea has been entered in accordance with
this agreement. The appellate court will enforce such waivers. Defendant agrees that any
attempt to withdraw Defendant’s plea will be denied and any appeal of such denial
should be dismissed.

24. Sex Offender Registration - Megan’s Law/Adam Walsh Act Notice:
Through execution of this Plea Agreement, Defendant acknowledges that he has been
advised, and understands, that pursuant to the Sex Offender Registration and Notification
Act, a federal law, he must register as a sexual offender and keep such registration
current in each of the following jurisdictions: where he resides, where he is employed,
and where he is a student. Defendant understands that the requirements for registration
include providing his name, his residence address, and the names and addresses of any
places where he is or will be an employee or student, among other information.
Defendant further understands that the requirement to keep the registration current
includes informing at least one jurisdiction in which he resides, is employed, or is a
student not later than three (3) business days after any change of name, residence,
employment, or student status. Defendant acknowledges that he has been advised and

understands that failure to comply with these obligations subjects him to prosecution for

 
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failure to register under federal law, 18 U.S.C. § 2250, which is punishable by a fine or
imprisonment, or both.

25, The parties further agree that Defendant will forfeit all rights and interest to
the property set forth in the Forfeiture Allegation of the Indictment.

26. Defendant understands that by pleading guilty he will be convicted, and
that any individual convicted who is not a United States citizen may be removed from the
United States, denied citizenship, and denied admission to the United States in the future.
Defendant’s attorney has explained this consequence of his guilty plea.

27. The Assistant United States Attorney and attorney for Defendant agree to
abide by the provisions of Rule 32(f) of the Federal Rules of Criminal Procedure. The
attorneys acknowledge their obligation to use good-faith efforts to resolve any disputes
regarding the Presentence Investigation Report (PSIR) through a presentence conference
or other informal procedures.

28. Defendant acknowledges reading and understanding all provisions of the
Plea Agreement. Defendant and Defendant’ s attorney have discussed the case and
reviewed the Plea Agreement. They have discussed Defendant’s constitutional and other
rights, including, but not limited to, Defendant’s plea-statement rights under Rule 410 of
the Federal Rules of Evidence and Rule 1 1(£) of the Federal Rules of Criminal Procedure.

AGREED:

 
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DREW H. WRIGLEY
United States Attorney

Dated: 2/ ( b/ 2 ( LE ~) Vo).

By: GARY L. DELORME
Assistant United States Attorney

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LUKE T. HECK

Attorney for Defendant

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